                                        Case 16-11027                   Doc 174         Filed 01/10/20               Page 1 of 25
                                                                       FORM 1
                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                    Page:     1
                                                                     ASSET CASES
Case No:             16-11027        BAK         Judge: BENJAMIN A. KAHN                                Trustee Name: EVERETT B. SASLOW, JR.
Case Name:           THE BENEFIT CORNER, LLC                                                            Date Filed (f) or Converted (c):     09/27/16 (f)
                                                                                                        341(a) Meeting Date:                 01/09/17
 For Period Ending: 12/31/19
                                                                                                        Claims Bar Date:                     03/29/17


                         1                                   2                  3               4              5                   6                    7              8
                                                                        Estimated Net Value
                                                                         (Value Determined   Property                        Asset Fully
                                                          Petition/       by Trustee, Less  Abandoned      Sale/Funds         Adm (FA)/
                 Asset Description                       Unscheduled     Liens, Exemptions, OA=554(a)      Received by      Gross Value of           Lien            Exempt
      (Scheduled and Unscheduled (u) Property)             Values         and Other Costs)  DA=554(c)       the Estate      Remain Assets           Amount           Amount

 1. BROOKS PIERCE TRUST ACCOUNT                        20,452.16               20,444.16                      20,444.16         FA                           0.00             0.00
    Certain commission checks received by debtor after
    mid August, 2016.

    Commissions released by Brooks Pierce to Trustee.

 2. TRUSTEE EVERETT SASLOW                               19,045.33                    0.00     DA                    0.00       FA                           0.00             0.00
    The Debtor's Schedule B refers to the Trustee's
    receipt of certain commission checks on 12/8/2016.
    The deposits are linked by the Trustee to Property 4
    (Accounts Receivable) below along with other
    commissions. Also see Form 2.

 3. LEASE DEPOSIT WITH BOYD II,                              7,546.66                 0.00     DA                    0.00       FA                           0.00             0.00
 GREENSBORO
    No value to estate.

 4. ACCOUNTS RECEIVABLE                                          0.00          90,324.47                      90,324.47         FA                           0.00             0.00
    Commissions from insurance companies received by
    Trustee. To the extent not received by the Trustee as
    reported in the TFR, deemed abandoned.

 5. TAX REFUNDS (u)                                              0.00           1,049.55                       1,049.55         FA                           0.00             0.00

 6. MESSER FINANCIAL GROUP CLAIMS                                0.00         245,000.00                    245,000.00          FA                           0.00             0.00
    Debtor's schedules listed property 6 and property 9
    as a single asset. Such properties are separated by
    the Trustee upon Form 1. For Messer Financial
    Group under this Property 6, see Rule 9019 Motion
    to Approve Settlement filed 6/19/17 (Doc 35) and
    Order Granting Motion filed 10/26/17 (Doc 76).

 7. PATENTS, TRADEMARKS, etc.                                    0.00          10,181.00                      10,181.00         FA                           0.00             0.00
    See Doc 81 set for hearing on 7/9/18. Order (Doc
    86) entered approving sale. Funds received by
    Trustee.

 8. MISCELLANEOUS REFUNDS (u)                                    0.00               250.00                         250.00       FA                           0.00             0.00
    Rent overpayment GGP Nimbus

 9. FOX CAPITAL GROUP CLAIMS                                     0.00          27,947.09                      27,947.09         FA                           0.00             0.00
    Debtor's schedules listed property 6 and property 9
    as a single asset. Such properties are separated by
    the Trustee upon Form 1. With regard to the Fox




PFORM1EX                                                                                                                                                            Ver: 22.02b
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                                                                       FORM 1
                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                    Page:     2
                                                                     ASSET CASES
Case No:             16-11027        BAK         Judge: BENJAMIN A. KAHN                                Trustee Name: EVERETT B. SASLOW, JR.
Case Name:           THE BENEFIT CORNER, LLC                                                            Date Filed (f) or Converted (c):     09/27/16 (f)
                                                                                                        341(a) Meeting Date:                 01/09/17
                                                                                                        Claims Bar Date:                     03/29/17


                         1                                   2                  3               4              5                   6                    7              8
                                                                        Estimated Net Value
                                                                         (Value Determined   Property                        Asset Fully
                                                          Petition/       by Trustee, Less  Abandoned      Sale/Funds         Adm (FA)/
                 Asset Description                       Unscheduled     Liens, Exemptions, OA=554(a)      Received by      Gross Value of           Lien            Exempt
      (Scheduled and Unscheduled (u) Property)             Values         and Other Costs)  DA=554(c)       the Estate      Remain Assets           Amount           Amount

    Capital claims, the Trustee presented preference
    avoidance claims with respect to certain payments,
    bank account levy, and UCC filing. See motion to
    approve settlement filed 7/28/17 Doc 48 and Order
    approving settlement (Doc 65).

 10. MISCELLANEOUS REFUNDS (u)                                   0.00               400.00                         400.00       FA                           0.00             0.00

 11. Preference Claims                                           0.00          17,250.00                      17,250.00         FA                           0.00             0.00
   Funds received by Trustee (from Kenneth
   Rasbornik, $14,000; Second Pitch, LLC, $3,250)



 TOTALS (Excluding Unknown Values)                         $47,044.15        $412,846.27                   $412,846.27                 $0.00                $0.00           $0.00


 _________________________________________________________________________________________________________________________
 Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

 12th Interim Quarterly Report. The Court having entered its ruling on December 31, 2019 upon the
 final pending claim objection (the Scott Curtis proof of claim), the Trustee intends to file final
 reports.

 11th Interim Quarterly Report. During the next calendar quarter the Trustee intends to conclude the
 final pending claim objection (the Scott Curtis proof of claim) and to file final reports.

 The Trustee at this time is submitting to the USBA each of the proposed Trustee's Final Report
 (TFR), the Notice of Trustee's Final Report and Applications for Compensation, the Supplement to
 Trustee's Final Report (TFR), and the Application for Final Compensation for Attorney for Trustee.

 10th Interim Quarterly Report. During the next calendar quarter the Trustee intends to conclude the
 final pending claim objection and to file final reports.

 9th Interim Quarterly Report. During the next calendar quarter the Trustee intends to move towards
 conclusion of pending claim objections, primarily regarding Proofs of Claim which claim priority
 under Code §507(a)(4).

 8th Interim Quarterly Report. During the next calendar quarter the Trustee intends to review filed
 claims which claim priority under Code §507(a)(4).

 7th Interim Quarterly Report. During the next calendar quarter the Trustee intends to pursue
 certain filed and pending adversary proceedings alleging preferential transfers.

 6th Interim Quarterly Report. During the next calendar quarter the Trustee intends to pursue
 certain preference demands and to proceed with the proposed sale of intellectual property.



PFORM1EX                                                                                                                                                            Ver: 22.02b
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                                                              FORM 1
                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                     Page:   3
                                                            ASSET CASES
Case No:          16-11027      BAK   Judge: BENJAMIN A. KAHN                             Trustee Name: EVERETT B. SASLOW, JR.
Case Name:        THE BENEFIT CORNER, LLC                                                 Date Filed (f) or Converted (c):   09/27/16 (f)
                                                                                          341(a) Meeting Date:               01/09/17
                                                                                          Claims Bar Date:                   03/29/17


 5th Interim Quarterly Report. During the next calendar quarter the Trustee intends to continue
 pursuit of certain preference demands and to explore the sale of intellectual property.

 4th Interim Quarterly Report. The Trustee has entered into a Settlement Agreement with Messer
 Financial Group Inc., and the agreement was approved and closed out. The Trustee has received
 certain commissions from insurance carriers and will continue to administer such commissions.
 During the next calendar quarter the Trustee intends to proceed with certain preference demands.

 3rd Interim Quarterly Report. The Trustee has received certain commissions from insurance carriers
 and will continue to administer such commissions. The Trustee has entered into a Settlement
 Agreement with Messer Financial Group Inc., and during the next calendar quarter the Trustee intends
 to proceed with the pending motion to approve settlement. The Trustee completed the settlement
 with Fox Capital Group to recover funds subject to levy and to avoid a late filed financing
 statement.

 2nd Interim Quarterly Report. The Trustee has received certain commissions from insurance carriers
 and will continue to administer such commissions. The Trustee has entered into a Settlement
 Agreement with Messer Financial Group Inc., and during the next calendar quarter the Trustee intends
 to proceed with the pending motion to approve settlement. The Trustee has made demands upon
 certain parties to avoid as preferences the filing of certain UCC-1 financing statements, and two
 of those parties have terminated filed financing statements. The Trustee has negotiated with Fox
 Capital Group to recover funds subject to levy and to avoid a late filed financing statement, and
 during the next calendar quarter the trustee intends to pursue that proposed settlement or otherwise
 proceed with litigation.

 1st Interim Quarterly Report. The Trustee has received certain commissions from insurance carriers
 and will continue to administer such commissions. The Trustee has communicated

 with Messer Financial Group, Inc. through counsel about documents requested for a possible Rule 2004
 examination, and the parties have communicated about a possible amicable resolution of pending
 claims; and the trustee intends to continue doing so during the next calendar quarter. The Trustee
 has made demands upon certain parties to avoid as preferences certain payments and the filing of
 certain UCC-1 financing statements, and the trustee intends to pursue those demands during the next
 calendar quarter.

 Initial Projected Date of Final Report (TFR): 09/30/19         Current Projected Date of Final Report (TFR): 01/30/20

       /s/    EVERETT B. SASLOW, JR.
 __________________________________________ Date: 01/10/20
       EVERETT B. SASLOW, JR.




PFORM1EX                                                                                                                                    Ver: 22.02b
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                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

    Case No:              16-11027 -BAK                                                          Trustee Name:                EVERETT B. SASLOW, JR.
    Case Name:            THE BENEFIT CORNER, LLC                                                Bank Name:                   UNION BANK
                                                                                                 Account Number:              *******3664 Checking Account (Non-Interest Earn
    Taxpayer ID No:       *******3491
    For Period Ending:    12/31/19                                                               Blanket Bond (per case limit): $ 2,500,000.00
                                                                                                 Separate Bond (if applicable):



        1             2                               3                                           4                                  5                   6                  7

 Transaction      Check or                                                                                                                          Disbursements     Account
    Date          Reference                Paid To / Received From                   Description Of Transaction                 Deposits ($)             ($)         Balance ($)
                                                                       BALANCE FORWARD                                                                                               0.00


       12/08/16       4       AETNA INC.                               Insurance policy commissions payabl                                 16.00                                    16.00
                              1425 UNION MEETING ROAD, U22N
                              PO BOX 1167
                              BLUE BELL, PA 19422-1919


       12/08/16       4       HEATH CARE SERVICE CORPORATION           Insurance policy commissions payabl                           14,391.17                              14,407.17
                              300 EAST RANDOLPH
                              CHICAGO, ILLINOIS 60601-5099


*      12/08/16               HEATH CARE SERVICE CORPORATION           Insurance policy commissions payabl                           14,391.17                              28,798.34
                              300 EAST RANDOLPH
                              CHICAGO, ILLINOIS 60601-5099


*      12/08/16               HEATH CARE SERVICE CORPORATION           Insurance policy commissions payabl                          -14,391.17                              14,407.17
                              300 EAST RANDOLPH                        TCMS error.
                              CHICAGO, ILLINOIS 60601-5099


       12/08/16       4       MONTANA HEALTH CO-OP                     Insurance policy commissions payabl                                 50.00                            14,457.17
                              P.O. BOX 5358
                              HELENA, MT 59604


       12/08/16       4       HUMANA                                   Insurance policy commissions payabl                                 84.22                            14,541.39
                              1100 EMPLOYERS BLVD
                              GREEN BAY, WI 54344


       12/08/16       4       UNITEDHEALTHCARE                         Insurance policy commissions payabl                               2,510.01                           17,051.40
                              7440 WOODLAND DRIVE
                              INDIANAPOLIS, IN 46278


       12/08/16       4       CENTENE MANAGEMENT COMPANY, LLC          Insurance policy commissions payabl                                 36.00                            17,087.40
                              MARKET PLACE BROKERAGE CASH
                              DISBURSEMENT
                              7700 FORSYTH BLVD
                              ST. LOUIS, MO 63105


       12/08/16       4       COLUMBIAN FINANCIAL GROUP                Insurance policy commissions payabl                                 84.41                            17,171.81
                              HSBC
                              ONE HSBC CENTER
                              BUFFALO, NY 14203


       12/08/16       4       HUMANA                                   Insurance policy commissions payabl                                 41.68                            17,213.49
                              1100 EMPLOYERS BLVD
                              GREEN BAY, WI 54344


       12/08/16       4       BLUECROSS BLUESHIELD                     Insurance policy commissions payabl                                266.00                            17,479.49
                              OF SOUTH CAROLINA
                              1-20 @ APLPINE ROAD
                              MC AX-234



PFORM2T                                                                                                                                                                 Ver: 22.02b
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                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-11027 -BAK                                                         Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:            THE BENEFIT CORNER, LLC                                               Bank Name:                   UNION BANK
                                                                                              Account Number:              *******3664 Checking Account (Non-Interest Earn
  Taxpayer ID No:       *******3491
  For Period Ending:    12/31/19                                                              Blanket Bond (per case limit): $ 2,500,000.00
                                                                                              Separate Bond (if applicable):



      1             2                               3                                          4                                  5                   6                  7

 Transaction    Check or                                                                                                                         Disbursements     Account
    Date        Reference                Paid To / Received From                  Description Of Transaction                 Deposits ($)             ($)         Balance ($)
                            COLUMBIA, SC 29219


     12/08/16       4       UNITEDHEALTHCARE                          Insurance policy commissions payabl                             1,162.45                           18,641.94
                            7440 WOODLAND DRIVE
                            INDIANAPOLIS, IN 46278


     12/08/16       4       CIGNA                                     Insurance policy commissions payabl                              336.65                            18,978.59


     12/08/16       4       HUMANA                                    Insurance policy commissions payabl                               66.74                            19,045.33
                            1100 EMPLOYERS BLVD
                            GREEN BAY, WI 54344


     12/30/16       4       AETNA INC.                                Insurance policy commissions payabl                               20.00                            19,065.33
                            1245 UNION MEETING ROAD, U22N
                            PO BOX 1167
                            BLUE BELL, PA 19422-1919


     12/30/16       4       HUMANA                                    Insurance policy commissions payabl                               46.81                            19,112.14
                            1100 EMPLOYERS BLVD
                            GREEN BAY, WI 54344


     12/30/16       4       IHC HEALTH SOLUTIONS                      Insurance policy commissions payabl                               41.96                            19,154.10
                            INDEPENDENCE HOLDING GROUP
                            AGENT - COMMISSION ACCOUNT
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     12/30/16       4       HEALTH CARE SERVICE CORPORATION           Insurance policy commissions payabl                         13,312.54                              32,466.64
                            300 EAST RANDOLPH
                            CHICAGO, ILLINOIS 60601-5099


     12/30/16       4       CIGNA HEALTH AND LIFE INS. CO. - AGENCY   Insurance policy commissions payabl                              140.51                            32,607.15
                            PO BOX 26580
                            AUSTIN, TX 78755-0580


     01/03/17       5       UNITED STATES TREASURY                    IRS refund 6/2016 F-941 Ref                                     1,007.90                           33,615.05


     01/03/17       4       MONTANA HEALTH CO-OP                      Insurance policy commissions payabl                               70.00                            33,685.05
                            P.O. BOX 5358
                            HELENA, MT 59604


     01/03/17       4       HUMANA                                    Insurance policy commissions payabl                              101.22                            33,786.27
                            1100 EMPLOYERS BLVD
                            GREEN BAY, WI 54344


     01/06/17       4       OPTIMAHEALTH                              Insurance policy commissions payabl                              882.00                            34,668.27


     01/06/17       4       OPTIMAHEALTH                              Insurance policy commissions payabl                              351.00                            35,019.27




PFORM2T                                                                                                                                                              Ver: 22.02b
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                                                                         FORM 2                                                                                  Page:       3
                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

    Case No:              16-11027 -BAK                                                       Trustee Name:                EVERETT B. SASLOW, JR.
    Case Name:            THE BENEFIT CORNER, LLC                                             Bank Name:                   UNION BANK
                                                                                              Account Number:              *******3664 Checking Account (Non-Interest Earn
    Taxpayer ID No:       *******3491
    For Period Ending:    12/31/19                                                            Blanket Bond (per case limit): $ 2,500,000.00
                                                                                              Separate Bond (if applicable):



        1             2                              3                                         4                                  5                   6                  7

 Transaction      Check or                                                                                                                       Disbursements     Account
    Date          Reference               Paid To / Received From                 Description Of Transaction                 Deposits ($)             ($)         Balance ($)
       01/06/17       4       BLUECROSS BLUESHIELD OF SOUTH           Insurance policy commissions payabl                              322.00                            35,341.27
                              CAROLINA
                              I-20 @ ALPINE ROAD, MC AX-234
                              COLUMBIA, SC 29219


       01/06/17       4       HUMANA                                  Insurance policy commissions payabl                               50.95                            35,392.22
                              1100 EMPLOYERS BLVD
                              GREEN BAY, WI 54344


       01/06/17       4       COLUMBIAN FINANCIAL GROUP               Insurance policy commissions payabl                               84.41                            35,476.63
                              COLUMBIAN LIFE INSURANCE COMPANY


       01/06/17       4       BANK OF NORTH CAROLINA                  Proceeds from closing bank account                              2,191.58                           37,668.21


       01/10/17       4       CIGNA                                   Insurance policy commissions payabl                              443.03                            38,111.24


       01/11/17       4       HUMANA                                  Insurance policy commissions payabl                              444.47                            38,555.71
                              1100 EMPLOYERS BLVD
                              GREEN BAY, WI 54344


       01/12/17       4       BAYLORSCOTT&WHITE HEALTH                Insurance policy commissions payabl                             3,706.66                           42,262.37
                              3500 GASTON AVENUE
                              DALLAS, TX 75246


       01/16/17       4       COLUMBIAN FINANCIAL GROUP               Insurance policy commissions payabl                               84.41                            42,346.78


       01/16/17       4       CENTENE MANAGEMENT COMPANY, LLC         Insurance policy commissions payabl                               84.00                            42,430.78
                              7700 FORSYTH BLVD
                              ST. LOUIS, MO 63105


       01/17/17       4       ICH HEALTH SOLUTIONS                    Insurance policy commissions payabl                               47.02                            42,477.80
                              P.O. BOX 35607
                              PHOENIX, AZ 85069-5607


       01/17/17       4       CAREINGTON BENEFIT SOLUTIONS            Insurance policy commissions payabl                               17.80                            42,495.60
                              7400 GAYLORD PARKWAY, THIRD FLOOR
                              FRISCO, TEXAS 75034


       01/17/17       4       HUMANA                                  Insurance policy commissions payabl                               90.57                            42,586.17
                              1100 EMPLOYERS BLVD
                              GREEN BAY, WI 54344


*      01/18/17       4       HEALTH CARE SERVICE CORPORATION         Insurance policy commissions payabl                         16,525.00                              59,111.17
                              300 EAST RANDOLPH
                              CHICAGO, ILLINOIS 60601-5099


*      01/18/17       4       HEALTH CARE SERVICE CORPORATION         Insurance policy commissions payabl                        -16,525.00                              42,586.17
                              300 EAST RANDOLPH                       Incorrect amount
                              CHICAGO, ILLINOIS 60601-5099




PFORM2T                                                                                                                                                              Ver: 22.02b
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                                                                        FORM 2                                                                                   Page:       4
                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-11027 -BAK                                                        Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:            THE BENEFIT CORNER, LLC                                              Bank Name:                   UNION BANK
                                                                                             Account Number:              *******3664 Checking Account (Non-Interest Earn
  Taxpayer ID No:       *******3491
  For Period Ending:    12/31/19                                                             Blanket Bond (per case limit): $ 2,500,000.00
                                                                                             Separate Bond (if applicable):



      1             2                               3                                         4                                  5                   6                   7

 Transaction    Check or                                                                                                                        Disbursements      Account
    Date        Reference                Paid To / Received From                 Description Of Transaction                 Deposits ($)             ($)          Balance ($)


     01/18/17       4       HEALTH CARE SERVICE CORPORATION          Insurance policy commisions payabl                          16,525.35                               59,111.52
                            300 EAST RANDOLPH
                            CHICAGO, ILLINOIS 60601-5099


     01/18/17       4       TRANSAMERICA LIFE INSURANCE              Insurance policy commissions payabl                               46.85                             59,158.37
                            COMPANY
                            P.O. BOX 8063
                            1400 CENTERVIEW DRIVE
                            LITTLE ROCK, AR 72203


     01/25/17       4       HUMANA                                   Insurance policy commissions payabl                              158.03                             59,316.40
                            1100 EMPLOYERS BLVD
                            GREEN BAY, WI 54344


     01/25/17               UNION BANK                               BANK SERVICE FEE                                                                    20.94           59,295.46


     01/26/17       4       AETNA INC.                               Insurance policy commissions payabl                                4.00                             59,299.46
                            PO BOX 1167
                            BLUE BELL, PA 19422-1919


     01/26/17       4       UNITEDHEALTHCARE                         Insurance policy commissions payabl                              930.94                             60,230.40
                            7440 WOODLAND DRIVE
                            INDIANAPOLIS, IN 46278


     01/31/17       4       HUMANA                                   Insurance policy commissions payabl                                5.07                             60,235.47
                            1100 EMPLOYERS BLVD
                            GREEN BAY, WI 54344


     01/31/17       4       BLUECROSS BLUESHIELD OF ILLINOIS         Insurance policy commissions payabl                             1,226.16                            61,461.63
                            P.O. BOX 7344
                            CHICAGO, IL 60680-7344


     01/31/17       4       CIGNA                                    Insurance policy commissions payabl                              331.51                             61,793.14


     01/31/17       4       ICH HEALTH SOLUTIONS                     Insurance policy commissions payabl                               44.16                             61,837.30
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     01/31/17       4       BLUECROSS BLUESHIELD OF SOUTH            Insurance policy commissions payabl                              154.00                             61,991.30
                            CAROLINA
                            I-29 # ALPINE ROAD, MC AX-234
                            COLUMBIA, SC 29219


     02/03/17       4       MONTANA HEALTH CO-OP                     Insurance policy commissions payabl                               30.00                             62,021.30
                            P.O. BOX 5358
                            HELENA, MT 59604


     02/07/17       4       COLUMBIAN FINANCIAL GROUP                Insurance policy commissions payabl                               84.41                             62,105.71




PFORM2T                                                                                                                                                              Ver: 22.02b
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                                                                        FORM 2                                                                                   Page:       5
                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-11027 -BAK                                                        Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:            THE BENEFIT CORNER, LLC                                              Bank Name:                   UNION BANK
                                                                                             Account Number:              *******3664 Checking Account (Non-Interest Earn
  Taxpayer ID No:       *******3491
  For Period Ending:    12/31/19                                                             Blanket Bond (per case limit): $ 2,500,000.00
                                                                                             Separate Bond (if applicable):



      1             2                               3                                         4                                  5                   6                   7

 Transaction    Check or                                                                                                                        Disbursements      Account
    Date        Reference                Paid To / Received From                 Description Of Transaction                 Deposits ($)             ($)          Balance ($)
                            HSBC
                            ONE HSBC CENTER
                            BUFFALO, NY 14203


     02/14/17       4       TRANSAMERICA AGENCY NETWORK, INC.        Insurance policy commissions payabl                              514.65                             62,620.36
                            P.O. BOX 1447
                            4333 EDGEWOOD ROAD NE
                            CEDAR RAPIDS, IA 52499


     02/17/17       4       AETNA INC.                               Insurance policy commissions payabl                               90.00                             62,710.36
                            1425 UNION MEETING ROAD, U22N
                            PO BOX 1167
                            BLUE BELL, PA 19422-1919


     02/22/17       4       CENTENE MANAGEMENT COMPANY, LLC          Insurance policy commissions payabl                               60.00                             62,770.36
                            7700 FORSYTH BLVD
                            ST. LOUIS, MO 63105


     02/27/17       4       BLUECROSS BLUESHIELD OF ILLINOIS         Insurance policy commissions payabl                             3,060.50                            65,830.86
                            P.O. BOX 7344
                            CHICAGO, IL 60680-7344


     02/27/17       4       KAISER PERMANENTE                        Insurance policy commissions payabl                              200.00                             66,030.86
                            KAISER FOUNDATION HEALTH PLAN INC.
                            ACCOUNTS PAYABLE DEPARTMENT
                            75 N. FAIR OAKS AVENUE, 4TH FL
                            PASADENA, CA 91103


     02/27/17       4       HUMANA                                   Insurance policy commissions payabl                              159.72                             66,190.58
                            1100 EMPLOYERS BLVD
                            GREEN BAY, WI 54344


     02/27/17       4       HUMANA                                   Insurance policy commissions payabl                              214.24                             66,404.82
                            1100 EMPLOYERS BLVD
                            GREEN BAY, WI 54344


     02/27/17       4       JVANS AFFORDABLE CARE LLC                Insurance policy commissions payabl                              140.60                             66,545.42
                            3130 SAINT BURY CT
                            RAPID CITY, SD 57703-6459


     02/27/17               UNION BANK                               BANK SERVICE FEE                                                                    68.09           66,477.33


     03/06/17       4       ICH HEALTH SOLUTIONS                     Insurance policy commissions payabl                               31.47                             66,508.80
                            INDEPENDENCE HOLDING GROUP
                            AGENT - COMMISSION ACCOUNT
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     03/06/17       4       ICH HEALTH SOLUTIONS                     Insurance policy commissions payabl                               66.15                             66,574.95
                            INDEPENDENCE HOLDING GROUP



PFORM2T                                                                                                                                                              Ver: 22.02b
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                                                                        FORM 2                                                                                       Page:       6
                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-11027 -BAK                                                           Trustee Name:                 EVERETT B. SASLOW, JR.
  Case Name:            THE BENEFIT CORNER, LLC                                                 Bank Name:                    UNION BANK
                                                                                                Account Number:               *******3664 Checking Account (Non-Interest Earn
  Taxpayer ID No:       *******3491
  For Period Ending:    12/31/19                                                                Blanket Bond (per case limit): $ 2,500,000.00
                                                                                                Separate Bond (if applicable):



      1             2                               3                                            4                                  5                   6                    7

 Transaction    Check or                                                                                                                           Disbursements       Account
    Date        Reference                Paid To / Received From                  Description Of Transaction                   Deposits ($)             ($)           Balance ($)
                            AGENT - COMMISSION ACCOUNT
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     03/06/17       4       TRANSAMERICA AGENCY NETWORK, INC.        Insurance policy commissions payabl                                1,147.29                             67,722.24
                            P.O. BOX 1447
                            4333 EDGEWOOD ROAD NE
                            CEDAR RAPIDS, IA 52499


     03/08/17       4       TRANSAMERICA AGENCY NETWORK, INC.        Insurance policy commissions payabl                                 526.73                              68,248.97
                            P.O. BOX 1447
                            4333 EDGEWOOD ROAD NE
                            CEDAR RAPIDS, IA 52499


     03/09/17   010001      INTERNATIONAL SURETIES, LTD.             Prorated premium Chapter 7 blanket                                                      38.91           68,210.06
                            701 POYDRAS STREET, SUITE 420            bond # 016036434
                            NEW ORLEANS, LOUISIANA 70139


     03/10/17       4       COLUMBIAN FINANCIAL GROUP                Insurance policy commissions payabl                                  84.41                              68,294.47
                            HSBC
                            ONE HSBC CENTER
                            BUFFALO, NY 14203


     03/16/17   010002      ROSEMARY A. LAMBERT, CPA, PA             Compensation per invoice 9763                                                          603.75           67,690.72
                            10230 BERKELEY PLACE DR, STE 260         as flat fee for 2016 federal and state partnership
                            CHARLOTTE, NC 28262                      income tax returns


     03/21/17       4       CENTENE MANAGEMENT COMPANY, LLC          Insurance policy commissions payabl                                  36.00                              67,726.72
                            7700 FORSYTH BLVD
                            ST. LOUIS, MO 63105


     03/21/17       4       HUMANA                                   Insurance policy commissions payabl                                 260.28                              67,987.00
                            1100 EMPLOYERS BLVD
                            GREEN BAY, WI 54344


     03/21/17       4       BLUECROSS BLUE SHIELD                    Insurance policy commissions payabl                                2,678.63                             70,665.63
                            OF NORTH CAROLINA
                            POST OFFICE BOX 2291
                            DURHAM, NORTH CAROLINA 27702


     03/21/17       4       AETNA INC.                               Insurance policy commissions payabl                                  30.00                              70,695.63
                            1425 UNION MEETING ROAD, U22N
                            PO BOX 1167
                            BLUE BELL, PA 19422-1919


     03/27/17       4       BAYLOR SCOTT & WHITE HEALTH              Insurance policy commissions payabl                                 215.38                              70,911.01
                            3500 GASTON AVENUE
                            DALLAS, TX 75246


     03/27/17       4       BLUECROSS BLUESHIELD OF ILLINOIS         Insurance policy commissions payabl                                 194.94                              71,105.95



PFORM2T                                                                                                                                                                  Ver: 22.02b
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                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-11027 -BAK                                                       Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:            THE BENEFIT CORNER, LLC                                             Bank Name:                   UNION BANK
                                                                                            Account Number:              *******3664 Checking Account (Non-Interest Earn
  Taxpayer ID No:       *******3491
  For Period Ending:    12/31/19                                                            Blanket Bond (per case limit): $ 2,500,000.00
                                                                                            Separate Bond (if applicable):



      1             2                              3                                         4                                  5                 6                    7

 Transaction    Check or                                                                                                                     Disbursements       Account
    Date        Reference               Paid To / Received From                 Description Of Transaction                 Deposits ($)           ($)           Balance ($)
                            P.O. BOX 7344
                            CHICAGO, IL 60680-7344


     03/27/17               UNION BANK                              BANK SERVICE FEE                                                                   83.91           71,022.04


     03/28/17       4       HUMANA                                  Insurance policy commissions payabl                             161.08                             71,183.12
                            1100 EMPLOYERS BLVD
                            GREEN BAY, WI 54344


     03/28/17       8       GGP NIMBUS LP                           Refund of rent overpayment                                      250.00                             71,433.12
                            FOUR SEASONS TOWN CENTRE
                            410 FOUR SEASONS TOWN CENTRE
                            GREENSBORO NC 27427


     04/04/17       4       IHC HEALTH SOLUTIONS                    Insurance policy commissions payabl                              45.33                             71,478.45
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     04/11/17       4       TRANSAMERICA AGENCY NETWORK, INC.       Insurance policy commissions payabl                             854.81                             72,333.26
                            P.O. BOX 1447
                            4333 EDGEWOOD ROAD NE
                            CEDAR RAPIDS, IA 52499


     04/11/17       4       CENTENE MANAGEMENT COMPANY, LLC         Insurance policy commissions payabl                              48.00                             72,381.26
                            7700 FORSYTH BLVD
                            ST. LOUIS, MO 63105


     04/12/17       5       UNITED STATES TREASURY                  Tax refund 9/2016 F-941 Ref. 65                                  41.65                             72,422.91


     04/13/17       4       COLUMBIAN FINANCIAL GROUP               Insurance policy commissions payabl                              84.41                             72,507.32


     04/24/17       4       HUMANA                                  Insurance policy commissions payabl                             141.67                             72,648.99
                            1100 EMPLOYERS BLVD
                            GREEN BAY, WI 54344


     04/24/17       4       HEALTH CARE SERVICE CORPORATION         Insurance policy commissions payabl                              26.68                             72,675.67
                            300 EAST RANDOLPH
                            CHICAGO, ILLINOIS 60601-5099


     04/25/17               UNION BANK                              BANK SERVICE FEE                                                                  102.46           72,573.21


     04/28/17       4       BLUECROSS BLUESHIELD                    Insurance policy commissions payabl                             336.00                             72,909.21
                            OF SOUTH CAROLINA
                            1-20 @ ALPINE ROAD, MC AX-234
                            COLUMBIA, SC 29219


     04/28/17       4       BLUECROSS BLUESHIELD                    Insurance policy commissions payabl                             294.00                             73,203.21
                            OF SOUTH CAROLINA
                            1-20 @ ALPINE ROAD, MC AX-234




PFORM2T                                                                                                                                                            Ver: 22.02b
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                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-11027 -BAK                                                       Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:            THE BENEFIT CORNER, LLC                                             Bank Name:                   UNION BANK
                                                                                            Account Number:              *******3664 Checking Account (Non-Interest Earn
  Taxpayer ID No:       *******3491
  For Period Ending:    12/31/19                                                            Blanket Bond (per case limit): $ 2,500,000.00
                                                                                            Separate Bond (if applicable):



      1             2                              3                                         4                                  5                   6                  7

 Transaction    Check or                                                                                                                       Disbursements     Account
    Date        Reference               Paid To / Received From                 Description Of Transaction                 Deposits ($)             ($)         Balance ($)
                            COLUMBIA, SC 29219


     04/28/17       4       BLUECROSS BLUESHIELD                    Insurance policy commisions payabl                               336.00                            73,539.21
                            OF SOUTH CAROLINA
                            1-20 @ ALPINE ROAD, MC AX-234
                            COLUMBIA, SC 29219


     05/01/17       4       ICH HEALTH SOLUTIONS                    Insurance policy commissions payabl                               52.53                            73,591.74
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     05/04/17       4       HEALTH FIRST                            Insurance policy commissions payabl                             1,657.08                           75,248.82
                            3300 FISKE BLVD.
                            ROCKLEDGE, FL 32955


     05/05/17       4       UNITEDHEALTHCARE                        Insurance policy commissions payabl                              110.78                            75,359.60
                            7440 WOODLAND DRIVE
                            INDIANAPOLIS, IN 46278


     05/05/17       4       TRANSAMERICA AGENCY NETWORK             Insurance policy commissions payabl                              750.49                            76,110.09
                            P.O. BOX 1447
                            4333 EDGEWOOD ROAD NE
                            CEDAR RAPIDS, IA 52499


     05/08/17       4       BLUECROSS BLUESHIELD                    Insurance policy commissions payabl                               36.84                            76,146.93
                            OF NORTH CAROLINA
                            POST OFFICE BOX 2291
                            DURHAM, NORTH CAROLINA 27702


     05/08/17       4       BLUECROSS BLUESHIELD OF SOUTH           Insurance policy commissions payabl                              126.00                            76,272.93
                            CAROLINA
                            I-20 @ ALPINE ROAD, MC AX-234
                            COLUMBIA, SC 29219


     05/08/17       4       BLUECROSS BLUESHIELD OF TENNESSEE       Insurance policy commissions payabl                                9.00                            76,281.93
                            1 CAMERON HIL CIRCLE
                            CHATTANOOGA, TENNESSEE 37402


     05/15/17       4       COLUMBIAN FINANCIAL GROUP               Insurance policy commissions payabl                               84.41                            76,366.34
                            HSBC
                            ONE HSBC CENTER
                            BUFFALO, NY 14203


     05/15/17       4       CENTENE MANAGEMENT COMPANY, LLC         Insurance policy commissions payabl                               36.00                            76,402.34
                            7700 FORSYTH BLVD
                            ST. LOUIS, MO 63105


     05/15/17       4       CAREINGTON BENEFIT SOLUTIONS            Insurance policy commissions payabl                               27.38                            76,429.72
                            7400 GAYLORD PARKWAY, THIRD FLOOR
                            FRISCO, TEXAS 75034



PFORM2T                                                                                                                                                            Ver: 22.02b
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                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-11027 -BAK                                                        Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:            THE BENEFIT CORNER, LLC                                              Bank Name:                   UNION BANK
                                                                                             Account Number:              *******3664 Checking Account (Non-Interest Earn
  Taxpayer ID No:       *******3491
  For Period Ending:    12/31/19                                                             Blanket Bond (per case limit): $ 2,500,000.00
                                                                                             Separate Bond (if applicable):



      1             2                              3                                          4                                  5                 6                    7

 Transaction    Check or                                                                                                                      Disbursements       Account
    Date        Reference               Paid To / Received From                  Description Of Transaction                 Deposits ($)           ($)           Balance ($)


     05/23/17       4       IHC HEALTH SOLUTIONS                    Insurance policy commissions payabl                               31.47                             76,461.19
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     05/25/17               UNION BANK                              BANK SERVICE FEE                                                                   103.75           76,357.44


     05/31/17       4       HUMANA                                  Insurance policy commissions payabl                              141.67                             76,499.11
                            1100 EMPLOYERS BLVD
                            GREEN BAY, WI 54344


     05/31/17       4       HEALTH CARE SERVICE CORPORATION         Insurance policy commissions payabl                              137.92                             76,637.03
                            300 EAST RANDOLPH
                            CHICAGO, ILLINOIS 60601-5099


     05/31/17       4       CIGNA                                   Insurance policy commissions payabl                               27.06                             76,664.09


     05/31/17       4       CIGNA                                   Insurance policy commissions payabl                               28.44                             76,692.53


     06/02/17       4       CIGNA                                   Insurance policy commissions payabl                               70.41                             76,762.94
                            CG INDIVIDUAL TAX EBNEFITS PAYMENT,
                            INC
                            900 COTTAGE GROVE ROAD
                            HARTFORD, CT 06152


     06/05/17       4       ICH HEALTH SOLUTIONS                    Insurance policy commissions payabl                               56.37                             76,819.31
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     06/07/17       4       UNITEDHEALTHCARE                        Insurance policy commissions payabl                              280.23                             77,099.54
                            7440 WOODLAND DRIVE
                            INDIANAPOLIS, IN 46278


     06/09/17       4       COLUMBIAN FINANCIAL GROUP               Insurance policy commissions payabl                               84.41                             77,183.95
                            HSBC
                            ONE HSBC CENTER
                            BUFFALO, NY 14203


     06/15/17       4       BLUECROSS BLUESHIELD OF SOUTH           Insurance policy commissions payabl                              280.00                             77,463.95
                            CAROLINA
                            1-20 @ ALPINE ROAD, MC AX-234
                            COLUMBIA, SC 29219


     06/19/17   010003      CLERK, US BANKRUPTCY COURT              Court costs filing fee                                                             176.00           77,287.95
                            POST OFFICE BOX 26100
                            GREENSBORO, NC 27420-6100


     06/19/17   010004      ALL STAR COPYING AND PRINTING           Costs to copy Motion                                                               406.88           76,881.07
                            101 S. ELM STREET




PFORM2T                                                                                                                                                             Ver: 22.02b
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                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-11027 -BAK                                                        Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:            THE BENEFIT CORNER, LLC                                              Bank Name:                   UNION BANK
                                                                                             Account Number:              *******3664 Checking Account (Non-Interest Earn
  Taxpayer ID No:       *******3491
  For Period Ending:    12/31/19                                                             Blanket Bond (per case limit): $ 2,500,000.00
                                                                                             Separate Bond (if applicable):



      1             2                              3                                          4                                  5                   6                    7

 Transaction    Check or                                                                                                                        Disbursements       Account
    Date        Reference               Paid To / Received From                  Description Of Transaction                 Deposits ($)             ($)           Balance ($)
                            SUITE 30
                            GREENSBORO, NC 27401


     06/19/17   010005      CLERK, US BANKRUPTCY COURT              Court costs filing fee                                                                 5.00           76,876.07
                            POST OFFICE BOX 26100
                            GREENSBORO, NC 27420-6100


     06/26/17               UNION BANK                              BANK SERVICE FEE                                                                     112.78           76,763.29


     06/28/17       4       BLUECROSS BLUESHIELD OF ILLINOIS        Insurance policy commissions payabl                              1,321.11                             78,084.40
                            P.O. BOX 7344
                            CHICAGO, IL 60680-7344


     06/29/17       4       HUMANA                                  Insurance policy commissions payabl                               141.67                              78,226.07
                            1100 EMPLOYERS BLVD
                            GREEN BAY, WI 54344


     07/05/17       4       HUMANA                                  Insurance policy commissions payabl                                 5.88                              78,231.95
                            1100 EMPLOYERS BLVD
                            GREEN BAY, WI 54344


     07/11/17       4       BLUECROSS BLUESHIELD OF SOUTH           Insurance policy commissions payabl                               154.00                              78,385.95
                            CAROLINA
                            1-20 @ ALPINE ROAD, MC AX-234
                            COLUMBIA, SC 29219


     07/11/17       4       TRANSAMERICA AGENCY NETWORK, INC.       Insurance policy commissions payabl                               615.87                              79,001.82
                            P.O. BOX 1447
                            4333 EDGEWOOD ROAD NE
                            CEDAR RAPIDS, IA 52499


     07/12/17       4       COLUMBIAN FINANCIAL GROUP               Insurance policy commissions payabl                                84.41                              79,086.23


     07/12/17       4       IHC HEALTH SOLUTIONS                    Insurance policy commissions payabl                                48.82                              79,135.05
                            P.O. BOX 35607
                            PHOENIX, AZ 85067-5607


     07/17/17       4       BLUECROSS BLUESHIELD OF TENNESSEE       Insurance policy commissions payabl                                45.00                              79,180.05


     07/17/17       4       BLUECROSS BLUESHIELD OF TENNESSEE       Insurance policy commissions payabl                                54.00                              79,234.05


     07/24/17       4       BLUECROSS BLUESHIELD OF TENNESSEE       Insurance policy commissions payabl                                18.00                              79,252.05


     07/24/17       4       IHC HEALTH SOLUTIONS                    Insurance policy commissions payabl                                30.38                              79,282.43
                            MADISON NATIONAL LIFE
                            INSURANCE COMPANY
                            P.O. BOX 43770
                            PHOENIX, AZ 85080




PFORM2T                                                                                                                                                               Ver: 22.02b
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                                                                       FORM 2                                                                                    Page:       11
                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-11027 -BAK                                                         Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:            THE BENEFIT CORNER, LLC                                               Bank Name:                   UNION BANK
                                                                                              Account Number:              *******3664 Checking Account (Non-Interest Earn
  Taxpayer ID No:       *******3491
  For Period Ending:    12/31/19                                                              Blanket Bond (per case limit): $ 2,500,000.00
                                                                                              Separate Bond (if applicable):



      1             2                              3                                           4                                  5                 6                    7

 Transaction    Check or                                                                                                                       Disbursements       Account
    Date        Reference               Paid To / Received From                  Description Of Transaction                  Deposits ($)           ($)           Balance ($)
     07/24/17       4       HUMANA                                  Insurance policy commissions payabl                               141.67                             79,424.10
                            1100 EMPLOYERS BLVD.
                            GREEN BAY, WI 54344


     07/25/17               UNION BANK                              BANK SERVICE FEE                                                                    110.88           79,313.22


     08/01/17       4       ICH HEALTH SOLUTIONS                    Insurance policy commissions payabl                                32.92                             79,346.14
                            MADISON NATIONAL LIFE INSURANCE
                            COMPANY
                            COMMISSION ACCOUNT
                            P.O. BOX 43770
                            PHOENIX, AZ 85080


     08/01/17       4       ICH HEALTH SOLUTIONS                    Insurance policy commissions payabl                                48.82                             79,394.96
                            MADISON NATIONAL LIFE INSURANCE
                            COMPANY
                            COMMISSION ACCOUNT
                            P.O. BOX 43770
                            PHOENIX, AZ 85080


     08/08/17       4       BLUECROSS BLUESHIELD OF TENNESSEE       Insurance policy commissions payabl                                 9.00                             79,403.96


     08/15/17       4       BLUECROSS BLUESHIELD OF SOUTH           Insurance policy commissions payabl                               168.00                             79,571.96
                            CAROLINA
                            1-20 @ ALPINE ROAD, MC AX-234
                            COLUMBIA, SC 29219


     08/15/17   010006      ALL STAR COPYING AND PRINTING           Costs to copy exhibits for hearing                                                  110.85           79,461.11
                            101 S. ELM STREET                       on Rule 9019 Motion Doc 35 filed June 19, 2017 (8
                            SUITE 30                                copies of 10 exhibits)
                            GREENSBORO, NC 27401


     08/21/17       4       CIGNA                                   Insurance policy commissions payabl                                55.50                             79,516.61


     08/21/17       4       CIGNA                                   Insurance policy commissions payabl                                34.18                             79,550.79


     08/21/17       4       CIGNA                                   Insurance policy commissions payabl                                28.51                             79,579.30


     08/21/17       4       CIGNA                                   Insurance policy commissions payabl                                41.97                             79,621.27


     08/25/17       4       ICH HEALTH SOLUTIONS                    Insurance policy commissions payabl                                31.47                             79,652.74
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     08/25/17               UNION BANK                              BANK SERVICE FEE                                                                    117.23           79,535.51


     08/28/17       4       HUMANA                                  Insurance policy commissions payabl                               141.67                             79,677.18
                            1100 EMPLOYERS BLVD
                            GREEN BAY, WI 54344




PFORM2T                                                                                                                                                              Ver: 22.02b
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                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-11027 -BAK                                                        Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:            THE BENEFIT CORNER, LLC                                              Bank Name:                   UNION BANK
                                                                                             Account Number:              *******3664 Checking Account (Non-Interest Earn
  Taxpayer ID No:       *******3491
  For Period Ending:    12/31/19                                                             Blanket Bond (per case limit): $ 2,500,000.00
                                                                                             Separate Bond (if applicable):



      1             2                              3                                          4                                  5                   6                     7

 Transaction    Check or                                                                                                                        Disbursements       Account
    Date        Reference               Paid To / Received From                 Description Of Transaction                  Deposits ($)             ($)           Balance ($)


     08/30/17       9       FOX CAPITAL GROUP                       Settlement Payment to restore prefe                          27,947.09                                107,624.27


     08/31/17       4       ANTHEM BLUE CROSS BLUE SHIELD           Insurance policy commissions payabl                                92.34                              107,716.61
                            3075 VANDERCAR WAY
                            AP OH3403-A300
                            CINCINNATI, OH 45209


     09/07/17       1       BROOKS. PIERCE, MCLENDON,               Insurance policy commissions delive                          20,444.16                                128,160.77
                            HUMPRHEY & LEONARD, LLP
                            P.O. BOX 26000
                            GREENSBORO, NC 27420


     09/07/17       4       HUMANA                                  Insurance policy commissions payabl                               107.25                              128,268.02
                            1100 EMPLOYERS BLVD
                            GREEN BAY, WI 54344


     09/07/17       4       IHC HEALTH SOLUTIONS                    Insurance policy commissions payabl                                48.82                              128,316.84
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     09/12/17       4       BLUECROSS BLUESHIELD OF TENNESSEE       Insurance policy commissions payabl                                45.00                              128,361.84


     09/12/17       4       BLUECROSS BLUESHIELD OF SOUTH           Insurance policy commissions payabl                               154.00                              128,515.84
                            CAROLINA
                            1-20 @ ALPINE ROAD, MC AX-234
                            COLUMBIA, SC 29219


     09/15/17       4       ANTHEM                                  Insurance policy commissions payabl                              1,446.34                             129,962.18
                            PO BOX 7368/GA08 3E-0014
                            COLUMBUS, GA 31908-7368


     09/25/17               UNION BANK                              BANK SERVICE FEE                                                                     118.14           129,844.04


     10/02/17       4       IHC HEALTH SOLUTIONS                    Insurance policy commissions payabl                                49.35                              129,893.39
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     10/09/17       4       BLUECROSS BLUESHIELD OF TENNESSEE       Insurance policy commissions payabl                                27.00                              129,920.39
                            1 CAMERON HILL CIRCLE
                            CHATTANOOGA, TN 37402


     10/09/17       4       BLUECROSS BLUESHIELD OF SOUTH           Insurance policy commissions payabl                               154.00                              130,074.39
                            CAROLINA
                            I-20 @ ALPINE ROAD, MC AX-234
                            COLUMBIA, SC 29219


     10/09/17       4       TRANSAMERICA AGENCY NETWORK, INC.       Insurance policy commissions payabl                               607.11                              130,681.50
                            P.O. BOX 1447




PFORM2T                                                                                                                                                               Ver: 22.02b
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                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-11027 -BAK                                                       Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:            THE BENEFIT CORNER, LLC                                             Bank Name:                   UNION BANK
                                                                                            Account Number:              *******3664 Checking Account (Non-Interest Earn
  Taxpayer ID No:       *******3491
  For Period Ending:    12/31/19                                                            Blanket Bond (per case limit): $ 2,500,000.00
                                                                                            Separate Bond (if applicable):



      1             2                              3                                         4                                  5                 6                     7

 Transaction    Check or                                                                                                                     Disbursements       Account
    Date        Reference               Paid To / Received From                 Description Of Transaction                 Deposits ($)           ($)           Balance ($)
                            4333 EDGEWOOD ROAD NE
                            CEDAR RAPIDS, IA 52499


     10/16/17       4       ANTHEM                                  Insurance policy commisions payabl                              280.34                             130,961.84
                            PO BOX 7368 / GA083E - 0014
                            COLUMBUS, GA 31908-7368


     10/25/17               UNION BANK                              BANK SERVICE FEE                                                                  178.69           130,783.15


     10/30/17       6       MESSER FINANCIAL GROUP                  Settlement payment                                         245,000.00                              375,783.15


     11/03/17       4       BLUECROSS BLUESHIELD OF TENNESSEE       Insurance policy commissions payabl                               9.00                             375,792.15
                            1 CAMERON HILL CIRCLE
                            CHATTANOOGA, TENNESSEE 37402


     11/06/17       4       IHC HEALTH SOLUTIONS                    Insurance policy commissions payabl                              42.94                             375,835.09
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     11/10/17       4       ANTHEM                                  Insurance policy commissions payabl                             226.34                             376,061.43
                            PO BOX 7368 / GA083E-0014
                            COLUMBUS, GA 31908-7368


     11/16/17       4       CAREINGTON BENEFIT SOLUTIONS            Insurance policy commissions payabl                              27.72                             376,089.15
                            7400 GAYLORD PARKWAY, THIRD FLOOR
                            FRISCO, TEXAS 75034


     11/27/17       4       IHC HEALTH SOLUTIONS                    Insurance policy commissions payabl                              31.47                             376,120.62
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     11/27/17       4       BLUECROSS BLUESHIELD OF SOUTH           Insurance policy commissions payabl                              70.00                             376,190.62
                            CAROLINA
                            I-20 @ ALPINE ROAD, MC AX-234
                            COLUMBIA, SC 29219


     11/27/17               UNION BANK                              BANK SERVICE FEE                                                                  252.72           375,937.90


     12/05/17       4       IHC HEALTH SOLUTIONS                    Insurance policy commissions payabl                              42.94                             375,980.84
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     12/11/17       4       BLUECROSS BLUESHIELD OF SOUTH           Insurance policy commissions payabl                             238.00                             376,218.84
                            CAROLINA
                            I-20 @ ALPINE ROAD, MC AX-234
                            COLUMBIA, SC 29219


     12/11/17       4       BLUECROSS BLUESHIELD OF TENNESSEE       Insurance policy commissions payabl                              45.00                             376,263.84
                            1 CAMERON HILL CIRCLE




PFORM2T                                                                                                                                                            Ver: 22.02b
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                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-11027 -BAK                                                       Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:            THE BENEFIT CORNER, LLC                                             Bank Name:                   UNION BANK
                                                                                            Account Number:              *******3664 Checking Account (Non-Interest Earn
  Taxpayer ID No:       *******3491
  For Period Ending:    12/31/19                                                            Blanket Bond (per case limit): $ 2,500,000.00
                                                                                            Separate Bond (if applicable):



      1             2                              3                                         4                                  5                 6                     7

 Transaction    Check or                                                                                                                     Disbursements       Account
    Date        Reference               Paid To / Received From                 Description Of Transaction                 Deposits ($)           ($)           Balance ($)
                            CHATTANOOGA, TENNESSEE 37402


     12/12/17       4       ANTHEM                                  Insurance policy commissions payabl                             336.34                             376,600.18
                            PO BOX 7368 / GA083E-0014
                            COLUMBUS, GA 31908-7368


     12/26/17               UNION BANK                              BANK SERVICE FEE                                                                  540.75           376,059.43


     01/09/18       4       BLUECROSS BLUESHIELD OF SOUTH           Insurance policy commissions payabl                             112.00                             376,171.43
                            CAROLINA
                            I-20 @ ALPINE ROAD, MC AX-234
                            COLUMBIA, SC 29219


     01/09/18       4       IHC HEALTH SOLUTIONS                    Insurance policy commissions payabl                              63.44                             376,234.87
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     01/09/18       4       TRANSAMERICA LIFE INSURANCE             Insurance policy commissions payabl                              17.03                             376,251.90
                            COMPANY
                            P.O. BOX 8063
                            1400 CENTERVIEW DRIVE
                            LITTLE ROCK AR 72203


     01/15/18       4       NSS LIFE                                Insurance policy commissions payabl                              14.82                             376,266.72
                            NATIONAL SLOVAK SOCIETY OF THE USA
                            351 VALLEY BROOK ROAD
                            MCMURRAY, PA 15317


     01/25/18               UNION BANK                              BANK SERVICE FEE                                                                  559.22           375,707.50


     01/29/18       4       CAREINGTON BENEFIT SOLUTIONS            Insurance policy commissions payabl                               4.62                             375,712.12
                            7400 GAYLORD PARKWAY, THIRD FLOOR
                            FRISCO, TEXAS 75034


     01/29/18       4       ANTHEM                                  Insurance policy commissions payabl                             194.00                             375,906.12
                            PO BOX 7368 / GA083E-0014
                            COLUMBUS, GA 31908-7368


     02/06/18       4       BLUECROSS BLUESHIELD OF TENNESSEE       Insurance policy commissions payabl                              18.00                             375,924.12
                            1 CAMERON HILL CIRCLE
                            CHATTANOOGA, TENNESSEE 37402


     02/06/18       4       IHC HEALTH SOLUTIONS                    Insurance policy commissions payabl                              51.49                             375,975.61
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     02/12/18       4       BLUECROSS BLUESHIELD OF TENNESSEE       Insurance policy commissions payabl                              36.00                             376,011.61
                            1 CAMERON HILL CIRCLE
                            CHATTANOOGA, TN 37402




PFORM2T                                                                                                                                                            Ver: 22.02b
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                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:               16-11027 -BAK                                                        Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:             THE BENEFIT CORNER, LLC                                              Bank Name:                   UNION BANK
                                                                                              Account Number:              *******3664 Checking Account (Non-Interest Earn
  Taxpayer ID No:        *******3491
  For Period Ending:     12/31/19                                                             Blanket Bond (per case limit): $ 2,500,000.00
                                                                                              Separate Bond (if applicable):



      1             2                               3                                          4                                  5                 6                     7

 Transaction    Check or                                                                                                                       Disbursements       Account
    Date        Reference                Paid To / Received From                 Description Of Transaction                  Deposits ($)           ($)           Balance ($)


     02/12/18       4       AETNA, INC.                              Insurance policy commissions payabl                              270.00                             376,281.61
                            1425 UNION MEETING ROAD, U22N
                            PO BOX 1167
                            BLUE BELL, PA 19422-1919


     02/23/18       4       ANTHEM                                   Insurance policy commissions payabl                              180.00                             376,461.61
                            PO BOX 7368 / GA083E-0014
                            COLUMBUS, GA 31908-368


     02/26/18               UNION BANK                               BANK SERVICE FEE                                                                   558.98           375,902.63


     03/05/18       4       IHC HEALTH SOLUTIONS                     Insurance policy commissions payabl                               53.18                             375,955.81
                            INDEPENDENCE HOLDING GROUP
                            AGENT - COMMISSIONS ACCOUNT
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     03/05/18       4       TRANSAMERICA AGENCY NETWORK, INC.        Insurance policy commissions payabl                              564.82                             376,520.63
                            P.O. BOX 1447
                            4333 EDGEWOOD ROAD NE
                            CEDAR RAPIDS, IA 52499


     03/12/18   010007      INTERNATIONAL SURETIES, LTD.             prorated premium Chapter 7 blanket                                                 173.53           376,347.10
                            701 POYDRAS STREET, SUITE 420            bond # 016036434
                            NEW ORLEANS, LOUISIANA 70139


     03/13/18       4       AETNA INC.                               Insurance policy commissions payabl                              210.00                             376,557.10
                            1425 UNION MEETING ROAD, U22N
                            PO BOX 1167
                            BLUE BELL, PA 19422-1919


     03/21/18       4       IHC HEALTH SOLUTIONS                     Insurance policy commissions payabl                               31.47                             376,588.57
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     03/26/18       4       ANTHEM                                   Insurance policy commissions payabl                               12.00                             376,600.57
                            PO BOX 7368 / GA083E-0014
                            COLUMBUS, GA 31908-7368


     03/26/18               UNION BANK                               BANK SERVICE FEE                                                                   504.89           376,095.68


     04/02/18       4       IHC HEALTH SOLUTIONS                     Insurance policy commissions payabl                               57.95                             376,153.63
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     04/05/18       10      GGP - FOUR SEASONS LP                    Pmg Generated Refund V                                           400.00                             376,553.63
                            410 FOUR SEASONS TOWN CENTRE
                            GRENSBORO NC 27427




PFORM2T                                                                                                                                                              Ver: 22.02b
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                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-11027 -BAK                                                          Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:            THE BENEFIT CORNER, LLC                                                Bank Name:                   UNION BANK
                                                                                               Account Number:              *******3664 Checking Account (Non-Interest Earn
  Taxpayer ID No:       *******3491
  For Period Ending:    12/31/19                                                               Blanket Bond (per case limit): $ 2,500,000.00
                                                                                               Separate Bond (if applicable):



      1             2                              3                                            4                                  5                 6                     7

 Transaction    Check or                                                                                                                        Disbursements       Account
    Date        Reference               Paid To / Received From                  Description Of Transaction                   Deposits ($)           ($)           Balance ($)


     04/25/18               UNION BANK                              BANK SERVICE FEE                                                                     559.39           375,994.24


     05/03/18       4       IHC HEALTH SOLUTIONS                    Insurance policy commissions payabl                                 57.95                             376,052.19
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     05/21/18       4       IHC HEALTH SOLUTIONS                    Insurance policy commissions payabl                                 31.47                             376,083.66
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     05/25/18               UNION BANK                              BANK SERVICE FEE                                                                     541.35           375,542.31


     06/06/18       4       IHC HEALTH SOLUTIONS                    Insurance policy commissions payabl                                 53.90                             375,596.21
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     06/21/18       4       ANTHEM                                  Insurance policy commissions payabl                                 36.00                             375,632.21
                            PO BOX 7368 / GA083E-0014
                            COLUMBUS, GA 31908-7368


     06/25/18               UNION BANK                              BANK SERVICE FEE                                                                     558.75           375,073.46


     06/29/18       4       IHC HEALTH SOLUTIONS                    Insurance policy commissions payabl                                 44.87                             375,118.33
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     07/09/18       4       TRANSAMERICA AGENCY NETWORK, INC,       Insurance policy commissions payabl                                522.99                             375,641.32
                            P.O. BOX 1447
                            4333 EDGEWOOD ROAD NE
                            CEDAR RAPIDS, IA 52499


     07/16/18       4       CAREINGTON BENEFIT SOLUTIONS            Insurance policy commissions payabl                                 27.06                             375,668.38
                            7400 GAYLORD PARKWAY, THIRD FLOOR
                            FRISCO, TEXAS 75034


     07/25/18               UNION BANK                              BANK SERVICE FEE                                                                     540.08           375,128.30


     07/31/18       4       IHC HEALTH SOLUTIONS                    Insurance policy commissions payabe                                 39.19                             375,167.49
                            INDEPENDENCE HOLDING GROUP
                            P.O. BOX 35607
                            PHOENIX, AZ 85069-5607


     08/16/18       7       MESSNER FINANCIAL GROUP                 Purchase price for intellectural pr                            10,000.00                              385,167.49
                            4301 MORRIS PARK DR
                            MINT HILL, NC 28227


     08/17/18       4       IHC HEALTH SOLUTIONS                    Insurance policy commissions                                        31.47                             385,198.96
                            P.O. BOX 35607



PFORM2T                                                                                                                                                               Ver: 22.02b
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                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-11027 -BAK                                                          Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:            THE BENEFIT CORNER, LLC                                                Bank Name:                   UNION BANK
                                                                                               Account Number:              *******3664 Checking Account (Non-Interest Earn
  Taxpayer ID No:       *******3491
  For Period Ending:    12/31/19                                                               Blanket Bond (per case limit): $ 2,500,000.00
                                                                                               Separate Bond (if applicable):



      1             2                                3                                           4                                 5                 6                       7

 Transaction    Check or                                                                                                                        Disbursements         Account
    Date        Reference                Paid To / Received From                  Description Of Transaction                  Deposits ($)           ($)             Balance ($)
                            PHOENIX, AZ 85069-5607


     08/24/18       7       BROOKS, PIERCE, MCLENDON,                Purchase price for intellectual pro                               181.00                               385,379.96
                            HUMPHREY & LEONARD, L.L.P.
                            P.O. BOX 26000
                            GREENSBORO, NC 27420


     08/27/18               UNION BANK                               BANK SERVICE FEE                                                                     557.90            384,822.06


     09/06/18       4       ANTHEM                                   Insurance policy commissions                                       12.00                               384,834.06
                            PO BOX 7368
                            COLUMBUS, G.A. 31908-7368


     09/13/18   010008      Clerk, U.S. Bankruptcy Court             Court costs filing fee of $350 for                                                  1,400.00           383,434.06
                            Middle District of North Carolina        Court costs filing fee of $350 for each 4 preference
                            P.O. Box 26100                           complaints (Docs 89, 90, 91, 92 filed September 12,
                            Greensboro, N.C. 27402-6100              2018; 18-2016. 18-2017, 18-2018, 18-2019)


     09/25/18               UNION BANK                               BANK SERVICE FEE                                                                     564.72            382,869.34


     10/02/18       4       IHC Health Solutions                     Insurance policy commissions                                       43.70                               382,913.04
                            Agent-Commision Account
                            P.O. Box 35607
                            Phoenix, A.Z. 85069-5607


     10/25/18               UNION BANK                               BANK SERVICE FEE                                                                     552.56            382,360.48


     11/05/18       4       IHC Health Solutions                     Insurance policy commissions payab                                 61.90                               382,422.38
                            P.O. Box 35607
                            Phoenix, AZ 85069-5607


     11/26/18               UNION BANK                               BANK SERVICE FEE                                                                     568.93            381,853.45


     11/27/18       4       IHC Health Solutions                     Insurance policy commissions                                       31.47                               381,884.92
                            P.O. Box 35607
                            Phoenix, AZ 85069-5607


     12/06/18       4       IHC Health Solutions                     Insurance policy commissions                                       48.25                               381,933.17
                            PO Box 355607
                            Phoenix, AZ 85069-5607


     12/12/18       4       Transmaerica Agency Network, Inc.        Insurance policy commissions                                      537.36                               382,470.53
                            P.O. Box 1447
                            4333 Edgewood Road. NE
                            Cedar Rapids, IA 52499


     12/18/18       4       Careington BenefitSolutions              Insurance policy commissions                                       11.00                               382,481.53
                            7400 Gaylord Parkway, Third Floor
                            Frisco, Texas 75034




PFORM2T                                                                                                                                                                 Ver: 22.02b
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                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:               16-11027 -BAK                                                          Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:             THE BENEFIT CORNER, LLC                                                Bank Name:                   UNION BANK
                                                                                                Account Number:              *******3664 Checking Account (Non-Interest Earn
  Taxpayer ID No:        *******3491
  For Period Ending:     12/31/19                                                               Blanket Bond (per case limit): $ 2,500,000.00
                                                                                                Separate Bond (if applicable):



      1             2                                 3                                          4                                  5                   6                     7

 Transaction    Check or                                                                                                                           Disbursements       Account
    Date        Reference                  Paid To / Received From                 Description Of Transaction                  Deposits ($)             ($)           Balance ($)


     12/26/18               UNION BANK                                 BANK SERVICE FEE                                                                     549.91           381,931.62


     12/31/18       4       IHC Health Solutions                       Insurance policy commissions payabe                                54.62                              381,986.24
                            PO Box 35607
                            Phoenix, AZ 85069-5607


     01/07/19       11      Second Pitch, LLC                          Settlement of Adversary Proceeding                               3,250.00                             385,236.24
                            PO Box 470897
                            Fort Worth, TX 76147


     01/14/19       11      Hill Evans Jordan and Beatty, PLLC         Settlement of preference claim                               14,000.00                                399,236.24
                            Trust Account (Kenneth Rasbornik)
                            P.O. Box 989
                            Greensboro, NC 27402


     01/25/19               UNION BANK                                 BANK SERVICE FEE                                                                     567.99           398,668.25


     01/29/19       4       IHC Health Solutions                       Insurance policy commissions                                       56.42                              398,724.67
                            P.O. Box 35607
                            Phoenix, AZ 85069-5607


     02/18/19       4       SSL STM                                    Insurance policy commissions payab                                 18.21                              398,742.88
                            Earned Commissions
                            P.O. Box 939
                            Duluth, GA 30096


     02/25/19       4       IHC Health Solutions                       Insurance policy commissions payabl                                31.47                              398,774.35
                            P.O. Box 35607
                            Phoenix, AZ 85069


     02/25/19               UNION BANK                                 BANK SERVICE FEE                                                                     582.71           398,191.64


     02/28/19       4       IHC Health Solutions                       Insurance agent policy commissions                                 57.12                              398,248.76
                            P.O. Box 35607
                            Phoenix, AZ 85069-5607


     03/14/19               Trsf To Axos Bank                          FINAL TRANSFER                                                                  398,248.76                      0.00




PFORM2T                                                                                                                                                                  Ver: 22.02b
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                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-11027 -BAK                                                            Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:            THE BENEFIT CORNER, LLC                                                  Bank Name:                   UNION BANK
                                                                                                 Account Number:              *******3664 Checking Account (Non-Interest Earn
  Taxpayer ID No:       *******3491
  For Period Ending:    12/31/19                                                                 Blanket Bond (per case limit): $ 2,500,000.00
                                                                                                 Separate Bond (if applicable):



      1             2                              3                                              4                                  5                   6                   7

 Transaction   Check or                                                                                                                             Disbursements        Account
    Date       Reference                Paid To / Received From                      Description Of Transaction                 Deposits ($)             ($)            Balance ($)



                                                       Account              Balance Forward                         0.00
                                                       *******3664      190 Deposits                          410,741.40                  8 Checks                          2,914.92
                                                                          0 Interest Postings                       0.00                 26 Adjustments Out                 9,577.72
                                                                                                                                          1 Transfers Out                 398,248.76
                                                                             Subtotal                    $    410,741.40
                                                                                                                                            Total                   $     410,741.40
                                                                          0 Adjustments In                          0.00
                                                                          0 Transfers In                            0.00

                                                                             Total                       $    410,741.40




PFORM2T                                                                                                                                                                   Ver: 22.02b
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                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-11027 -BAK                                                             Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:            THE BENEFIT CORNER, LLC                                                   Bank Name:                   Axos Bank
                                                                                                  Account Number:              *******5030 Checking Account
  Taxpayer ID No:       *******3491
  For Period Ending:    12/31/19                                                                  Blanket Bond (per case limit): $ 2,500,000.00
                                                                                                  Separate Bond (if applicable):



      1             2                                  3                                           4                                  5                 6                     7

 Transaction    Check or                                                                                                                           Disbursements       Account
    Date        Reference                  Paid To / Received From                    Description Of Transaction                 Deposits ($)           ($)           Balance ($)
                                                                         BALANCE FORWARD                                                                                               0.00


     03/14/19       4       NSS Life                                     Insurance policy commissions payabe                                4.94                                       4.94
                            National Slovak Society of the USA
                            351 Valley Brook Road
                            McMurray, PA 15317


     03/14/19               Trsf In From UNION BANK                      INITIAL WIRE TRANSFER IN                                    398,248.76                              398,253.70


     03/28/19       4       IHC Health Solutions                         Insurance policy commissions paya                                 58.29                             398,311.99
                            P.O. Box 35607
                            Phoenix, AZ 85069-5607


     04/05/19       4       Transamerica Agency Network, Inc.            Insurance Policy Commissions                                     511.68                             398,823.67
                            P.O. Box 1447
                            4333 Edgewood Road NE
                            Cedar Rapids, IA 52499


     04/08/19   002001      International Sureties, Ltd.                 Prorated premium Chapter 7 blanket                                                 151.87           398,671.80
                            Suite 420                                    Prorated premium Chapter 7 blanket bond
                            701 Poydras St.                              #016036434
                            New Orleans, LA 70139


     04/29/19       4       IHC Health Solutions                         Insurance policy commissions                                      58.29                             398,730.09
                            PO Box 35607
                            Phoenix, AZ 85069-5607


     05/20/19       4       IHC Health Solutions                         Insurance policy commissions                                      31.47                             398,761.56
                            P.O. Box 939
                            Duluth, GA 30096


     05/29/19       4       IHC Health Solutions                         Insurance policy commissions payabe                               58.29                             398,819.85
                            PO Box 35607
                            Phoenix, AZ 85069-5607


     06/28/19       4       IHC Health Solutions                         Insurance policy commissions                                      58.29                             398,878.14
                            P.O. Box 35607
                            Phoenix, AZ 85069-5607


     07/29/19       4       IHC Health Solutions                         Insurance policy commissions                                      58.29                             398,936.43
                            PO Box 35607
                            Phoenix, AZ 85069-5607


     08/19/19       4       IHC Health Solutions                         Insurance policy commissions                                      31.47                             398,967.90
                            P.O. Box 939
                            Duluth, GA 30096


     08/30/19       4       IHC Health Solutions                         Insurance policy commissions                                      58.29                             399,026.19
                            P.O. Box 35607




PFORM2T                                                                                                                                                                  Ver: 22.02b
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                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-11027 -BAK                                                                 Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:            THE BENEFIT CORNER, LLC                                                       Bank Name:                   Axos Bank
                                                                                                      Account Number:              *******5030 Checking Account
  Taxpayer ID No:       *******3491
  For Period Ending:    12/31/19                                                                      Blanket Bond (per case limit): $ 2,500,000.00
                                                                                                      Separate Bond (if applicable):



      1             2                                 3                                                4                                  5                  6                   7

 Transaction    Check or                                                                                                                                Disbursements     Account
    Date        Reference                  Paid To / Received From                        Description Of Transaction                 Deposits ($)            ($)         Balance ($)
                            Phoenix, AZ 85069-5607


     10/01/19       4       IHC Health Solutions                           Insurance policy commissions payabl                                 59.27                            399,085.46
                            P.O. Box 35607
                            Phoenix, AZ 85069-5607


     10/28/19       4       IHC Health Solutions                           Insurance policy commissions payabe                                 59.27                            399,144.73
                            P.O. Box 35607
                            Phoenix, AZ 85069-5607


     11/07/19       4       Transamerica Agency Network, Inc.              Insurance policy commissions payabl                                545.93                            399,690.66
                            P.O. Box 1447
                            Cedar Rapids, IA 52499


     11/25/19       4       IHC Health Solutions                           Insurance policy commissions payabl                                 31.47                            399,722.13
                            P.O. Box 939
                            Duluth, GA 30096


     12/03/19       4       IHC Health Solutions                           Insurance policy commissions payab                                  59.27                            399,781.40
                            P.O. Box 35607
                            Phoenix, AZ 85069-5607


     12/18/19       4       BlueCross BlueShield of Tennessee, Inc.        Insurance policy commissions repla                                 333.00                            400,114.40
                            Bank of America N.A.
                            550 W. Main St.
                            Knoxville, TN 37902


     12/18/19       4       Careington Benefit Solutions                   Insurance policy commissinos payab                                  26.40                            400,140.80
                            7400 Gaylord Parkway, 3rd Floor
                            Frsico, Texas 75034


     12/30/19       4       IHC Health Solutions                           Insurance policy commissions payab                                  60.96                            400,201.76
                            P.O. Box 35607
                            Phoenix, AZ 85069-5607




                                                           Account               Balance Forward                           0.00
                                                           *******5030        18 Deposits                              2,104.87               1 Checks                               151.87
                                                                               0 Interest Postings                         0.00               0 Adjustments Out                        0.00
                                                                                                                                              0 Transfers Out                          0.00
                                                                                  Subtotal                     $       2,104.87
                                                                                                                                                Total                    $           151.87
                                                                               0 Adjustments In                           0.00
                                                                               1 Transfers In                      398,248.76

                                                                                  Total                       $    400,353.63




PFORM2T                                                                                                                                                                      Ver: 22.02b
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                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-11027 -BAK                                                               Trustee Name:                EVERETT B. SASLOW, JR.
  Case Name:            THE BENEFIT CORNER, LLC                                                     Bank Name:                   Axos Bank
                                                                                                    Account Number:              *******5030 Checking Account
  Taxpayer ID No:       *******3491
  For Period Ending:    12/31/19                                                                    Blanket Bond (per case limit): $ 2,500,000.00
                                                                                                    Separate Bond (if applicable):



      1             2                              3                                                 4                                    5                6                     7

 Transaction   Check or                                                                                                                               Disbursements         Account
    Date       Reference                Paid To / Received From                        Description Of Transaction                  Deposits ($)            ($)             Balance ($)


   Report Totals                                                      Balance Forward                          0.00
                                                                  208 Deposits                           412,846.27            9 Checks                              3,066.79
                                                                    0 Interest Postings                        0.00           26 Adjustments Out                     9,577.72
                                                                                                                               1 Transfers Out                     398,248.76
                                                                       Subtotal                 $        412,846.27
                                                                                                                                  Total                        $   410,893.27
                                                                    0 Adjustments In                           0.00
                                                                    1 Transfers In                       398,248.76

                                                                       Total                    $        811,095.03               Net Total Balance            $   400,201.76


                           /s/     EVERETT B. SASLOW, JR.
   Trustee's Signature: __________________________________ Date: 01/10/20
                           EVERETT B. SASLOW, JR.




PFORM2T                                                                                                                                                                         Ver: 22.02b
